Case 1:16-cr-20715-MGC Document 859 Entered on FLSD Docket 05/01/2018 Page 1 of 11
CERTICATE MAlt: 7016 2070 #000 2687 4794                             DATE: hpçil 11,-2#18

                                    Letter pf Iustruction

clerk of court                                                          FI D by             D.
                                          FILED by          D.C.
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                                                  w .,   2218             ST N MLLA oRE
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Dear Clerk of Court:                                      uoqs            S.
                                                                           a
                                                                           ERK
                                            STEVEN M.LARI
                                            CLERK U S DIST CT.
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                                                                                   .,  à T.
                                                                                      Ml.



      have accepted for value a11 relate erlKcià-y* u l l.         ordance with t1.C.c. 3-419
add HJk-192. Please charge my UCC Contract trust account Via exemption Identiflcation
Number: % %1 $t6' for the registration fees and discharge a11 related debts to account
// 2017A58426/001          and command the memory of account 11 XXX-XX-XXXX to charge
the saoe to the debtors order or your order.


   The total amounts of this NON-NEGOTTARLE ACCEPTANCE FDR VALUE is the enclosing
documents are: Indictment, Bond, Penalty        Sheet, and Non-Negotiable Notice of
Acceptance and Demand for sett-off, Notice of and Explicit Reservation of A 11 Rights,
Affidavit of Commercial Discharge and Denial of Corporate Existence.


   Thank you for your time in this matter. If you have any questions or need my
assistance please feel free to contact me . Until then I am .


sincerly .

   Itt'2(
     -        '   '
Craig Sizer
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                  N 0 T I C E   0 F          A N D    E X P L I C I T
               R E S E R V A T I O N          O F    A L L   R I G H T S
    Date: April 11, 2018
    To: US Clerk of œ urt                      From :
        40O sortb Miv i Avenue , RG = 8509              Craig Sizer
        Hl& i)'R 33128-7716                             Inmate 50.:14046-104
                                                        Federal Correction Complex
                                                        Coleman-tow
                                                        P.O. Box 1031
                                                        Colemany FL 33521


   re: Letter Royatory - Notice         Acceptance Without Prejudice
       Non-Negotiable - re :                      y
       Crlminal Case No . 16-CR-20715-MGC
   Certifled Hail No . 7016 2070 0000 2687 4794
  Dear Holder/clerk,
      This Notice is by Special Appearance
  appearance CENERAL in nature. PLEASE TAKE, NOTICE
                                             sui juris, never is my
                                                    that 1 , Craig Slzer,
 a living breathing man upon the soil , reserve the right not to be
 compelled to perform under any lnternatlonal Mariti
 agreement that I did                                   me contrac t or
 intenti               not en ter knowfngly , volun tarily , willingly ,
         onalt/, with full disclosure and meeting of the minds
 Furthermore , I do not accept tbe liability of                   .
 of an y un-revealed con tract or agreemen t      any compelled benefi t
                                             .


      I repent of my debtts);
        request full settiement    o? a11 ac-countts) in thq private         .


      Three (3) days are provided for you to respond.
 Dishonor will result if you fail to respond . Please govern yourself
 accordingly .


                                         Sincerely ,

                                         Witho t Prejudice
                                                        ,   a   '

                                       By :      'èL. Y         ' -   7-**
cc: Internal Revenue Service
    Criminal Tnvestiga tion Division
    Box 192
    Covington, Kentucky (41012)



                                                                                     Co
                                                                                      yy
Case 1:16-cr-20715-MGC Document 859 Entered on FLSD Docket 05/01/2018 Page 3 of 11




                                  SPACE ABOVE THIS LINE FOR RECORDER USES
   Prepared by : Craig Sizer                A   SECURITY I   15 U .
                                            N                       S.c. et       seq.j
                                             on-Negotiable - Tracer F lag
                                            N0T A POINT OF LAW
   To: US Clerk of Court                     From : Craig Sizer
       40O North Hlaml Avenue, Roam 8N09            Inmate No.: 14046-104
       Hiamf, FL 33128-7716                         Federal Correction Complex
                                                    Coleman-tow
                                                    P.O. Box 1031
                                                    Coleman, FL 33521



                               Cer tified Mas1 No . 7016 2070 0000 2687 4794
                                             .




                       A F F I D A V I T    O F
              C O M M E R C I A L     D I S C H A R G E
                                  and
     D E N I A L   O F    C O R P O R A        E X I S T E N C E
 In re:
        Criminal Case No . 16-CR-20715-HGC
 S ta te o f Florida                        )
 Coun ty of Dade                            ) ss.Acknowledgement
                                            )
                 NOTICE T0 AGENT IS NOT ICE TO PRINCIPAL
                 NOTICE T0 PRINCIPAL IS NOTICE TO AGENT
 ''f
   Indeed , no Tore than (affidavits) is necessary        to make the prima
    acle case,n in the nature of United States v .
  536 (7th Cir 1981) Cert Denie ,
                 .                               LW       Kis,
                                                         S.Ct 658 F.2d 526,
                                                             .   March 22, 1982
That , 1) craig Sizer,
hereinafter ''Affiant/' a living, breathing man upon the soll, duly
affirm
fac t  ) certify, says and declare by my autograph  , tha t the following
     s are true , correct, certain
best of my know ledge and belief:  , complete and not misleadin g to the
                                                                 ,




                                                                                     t?%
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   Date : April 11, 2018
   Affidavit of Commercial Discharge
   Account Number: 2017A58426/001
   Page 2

        That, whereas  this affidavit is by special appearance ,
               is my appearance                                        sui juris,
        nev er                  CENERAL in nature ;
   2. That, whereas respondents understands/agrees that the governing
        1aw of this private contract is the agreement of th e parties
        supported by the 1aw of Merchant and applicable Maxims of 1aw
        established by silence, acquiescence and tacit agreemen t;
  3. That, whereas respondents are addqessed in their public and
        private capacity . Th is is affiant 's lawful response to the above
        described offer/presentment;
        That ) whereas affiant is contacting respondents directly , a s
        affiant wish to resolve this matter to the best of his ability ,
        as soon as gossible, as affiant is currently being injured by the
       above descrlbed . Affiant finds it prudently necessary to exhaust
       by due diligen t, his private administrative remedy as it relates ,
       to this matter;
       That, whereas 1et no word , action or writing be construed to imply
       the granting of any power of attorney , waiver of rights y or
       assignment of title ;

       That, whereas affiant is a third party intervener under injury
       in this matter ;
  7.   That) whereas affiant NOTICES :clrcult Court of Hiami Dade County
       located at: 1351 Northwest 12th Street, Miami, Florida 33125      ,

       ls a corporation/fiction doiny business for profit and gain
       under a grant of lim ited liabllity insurance evidenced by its
       tax identification number;
       That, whereas affiant is in receipt of a well plead written
       instrument from the respondents associated w ith th e abov e
       described matter and he has accepted for value and returned for
       value for full settlement and èlosù/e using h is privàte èxemptioh
       in accord with UCC s 3-419 , 1-103 , 1-104 9 House Joint Resolution
       192 of June 5 , 1933 A .D., and Public 1aw 73-10 .
 9.    That, whereas affiant has also forwarded a copy of the same to
       the In ternal Revenue Servicel-criminal Investigation Div ision of
       the acceptance for set-off and adjustment of the accounts, using
       his exemption;
 10. That, whereas respondents are hereby given notice to CEASE AND
     DESIST from any and a11 actions , litigations: and enforcements
     oç any
         - and a1l judgments) decrees and or clalms, regarding the
     COLLATERAL , the DEBTOR , and the ACCOUNTS ;



                                                                                 tù;y
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  Date : April 11, 2018
  Affidavit of Commercial Discharge
  Account Number: 2017A58426/001
  Page 3
       Tha t) whereas affiant is not in possession of any lawful contract
       or agreement that compels h is performance to the above described
       and believes none exists ;
       That, whereas, in the nature of the holding of Fidelity Bank
       Guarantee vs. Henwood, 3O7 U.S. 847 (1939), take notice of ...
           As o   October 2 y 1977, legal tender is not in circulation at
       par with promises to pay credit. There can be no requirement of re-
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       in equivalent Kind : A negotiable instrument.'';
      That, whereas affiant acceptance of any monetary/debt presentment
      and/or demand for payment as presented by any person, natural or
      corporate : can be returned for discharge, the same constituting
      the negotiable instrument so bearing the exemp tion of th e affiant
      upon any said monetary/debt presentment and/or demand for payment
      as a non-cash accrual item is bu t another form of legal tender ,
      money , currency emanating from the creditor;
  14' That) wher!as pursuant to b tate and Federap TENDER OF PAYMENT
      sta tu tes ; ''wha tever is tendered as paymen t , whe ther proper ty ,
      money or an instrument, if not accepted , the deb t is dischargedwlj
      (Ucc j 3-6O3(b)q;                                         ''
      That, whereas affiant accepted for value and returned for value
      the warehouse receipt presented by responden ts in accordance with
      IAW Title 26 Subtitle A Subchapter J Part I Subpart E Section
      674 (b)(5)(b);
 16 s Thpb
       -    -whçvçpp-affiant DENIED : the corpprqlq çyisyenceg that is,
                     -                                    -

      uszzEn s,,zEs: zuE szAzE or snoRznA, couxry or szzxz nAnE,cukiciatèirc-it
      or nade county; R,a,,M&s;
     àffian an locatio-
                      n are particula/l#- uniq6e to this affiant,
     although not affiliated wzth the corporate body polftic near the
     same location ; and it suffices as complete , necessary and
     sufficient identification evidencing affiant ls neutral standing
     in the nature of Title 15 USC j 1681h and Florida revised Code
     Rule Civil Procedure 9(a). Therein, respondents inability and
     failure to state a claim upon which relief can be gran ted .
Further affiant sayeth naught.

Executed on this // day of yd-'.'
                                /                     ,   ao/f' A.n.




                                                                                  (bty
Case 1:16-cr-20715-MGC Document 859 Entered on FLSD Docket 05/01/2018 Page 6 of 11


                                 NON-NEGOTIABLE
                              Notice of Accep tance
                                      And
                               Demand for Set-off
 Da te: April 11, 2018
To :    U.S. Department of Justice        From :   craig Sizer
        Florida-southern                           Inmate No.:14046-104
        99 NE 4th St-y                             Federal Correction Complex
        Suite 3O0                                  Coleman-tow
        Mlami, FL 33132                            P.O. Box 1031
                                                   Coleman, FL 33521



Re : Letter Rogatory-Explicit Reservation of Al1 Righ ts
Re: Account Number: 2017A58426/001
Certified Mail Number : 7016 2070 0000 2687 4794
To Who Present May Come :

This Notice is by Special Appearance, sui juris, never is my appearance
GENERAL in nature. NOTE: The foregoing constitute a private (exempt)
SECURITY under seal and is non-negotiable and non-transferable evidence
of a Debt (15 U.S.C. et seq TRACER FLAC). A copy has been sent to the
IRS .

PLEASE TAKE NOTICE that 1, cralg Slzer,
a living and breathing man upon the soil, until prqven otherwise, fully
accept for value your offer/presentment quoted in HRe:'' above and
returned for value your OFFER/PRESENTMENT herein. I apologize for a11
previous dishonors. 1 repent of my debts. I do not argue the facts . In
my lifetime , I have made m istakes, as specific mistakes are made aware
to me, I will repent of them. As for my acceptance of your offer/
presentment, I request you to perform the following fiduciary duty , per
Oath of Office/oath of Admission:
a. I Y equest full settlement, adjustment, discharge, and closure of the
   accoun t in the private and release thp order and or letter of release
   indicatins the discharge , to me immediately by certified ma il only ;

    Set-off and adjust al1 charges by the exemption in accord with UCC
    3-419, House Joint Resolution 192 of June 5, 1933 A.D. (HJR-192)
    and Public Law 73-10 (Discharge of a1l Debt Public and Private);




                                      1
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                  You are further instructed to notify a11 related agencies and
                  corporations that this account has been set-off by my private ,
                  settled in full, and closed lawfully by the principa l creditor .
                  A11 claims against the DEBTOR/TRUST/ESTATE must be released.
        Dishonor will result if you ignore, fail, or refuse to perform the
        demanded set-off. Please govern yourself accordingly .

        Executedon this // dayof                                   i
                                                                   Xl                ,20/YM A.D.
                                               JURAT / ACKNOWLEDGEMENT
        State of
                                                                              SS .
        County of

        Subscribed and affirmed
                                                      before me thls 14 day of                 /   ,
        20 1$ A.D.
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        Notary Name                      .         t.r- t.$r n c
        Notary Signature                                      ., , ,   >

        My Commission Expires:                                i , &Y UD
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      Case 1:16-cr-20715-MGC Document 859 Entered on FLSD Docket 05/01/2018 Page 8 of 11

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                                                                             B0ND
                               Certifled Hail No.                                               Dond No. O4112O18-CS-OOOO2
                               7016 2070 0000 2687 4794
                               PrGnise to Pay to the Order of:                           U.S. Department of Treasury and                          '
                                                                                         CREDIT; UNITED STATES DISTRICF
                                                                                         CDURT SOPTHERN DISTRICT OF
                               Acct #: 2017A58426/001                                    FLDRIDA; JUDICIAL CIRCUIT COURT
                                                                                         FOR DADE CouNrYy FLDRIDA
                                                                                         400 sorth Miami Ave., Rm 08N09                                             '
                                                                                         Miami, Florida 33128-7716
          e                                                                                                                                       ,

                               EW ALIW IJNDER TIE LAW IS PARAMOUNT AND MADAD RY BX IAW. Iy Craig
                               Sfzer, a livlng, breathfng man do hereby declare:
                                       There appearing no bond, contract or title of recorded entered by
                                       claimant to initiate the latter alleged by STATE OF FLDRIDA
                           !           regardlng claim number: 2017458426/001
                                           1, issue this bond to discharge a11 debt in the matter of claim                                        k             -
                                           number 2017A58426/001 dischargable to STATE OF FLORIDA as                                                            -
                                       mandate y pu ic polfcy through the Bureau of Public Debt. In
                                       that no lawful money of account exists in circulation and in                                                                     '
                                       consideration thereof, I have suffered dishonor by STATE OF
                                       FLORIDA regarding the alleged creditor's claim number:
.
                                           2017A58426/001.
                                                       '                                                                                          ;
                                           1, Craig Sizer, prirripal, as surety, am held and bound to pay
      #*                                   STA'fE OF FLORIDA the sum of $ (holder to fill in the amount due                                                .-
               ae                          as certain)                        Dollars ($22,551,635.58                                ),
                                           unless the a ege            e tor CRAIG SIZER s a                         satis y any e t                                o
                                           whlch may be recovered against it by the alleged creditor STATE                                                              l
                                           OF FLDRIDA for the attachment of alleged debtor CRAIG SIZER for
                                           the sum certain cited above, returnable to STATE OF FLDRIDA,
                           #
                                           ELVEVENTH JUDICIAL CIRCUIT COURT, F0R DADE COUNTY, FLORIDA, on
                                           11th day of April, 2018 A.D. 1, Craig Sizer, underwrite with my
                                           private exemption any and al1 obligations of performance/loss/
                                           costs sustained by the STATE OF FLDRIDA and its lawful citizens.
                               Donethis // day of /1 ''
                                       ,
                                                       '

                                                                                       ,2018 A.D.,in the county of
                                         oc      , Flori a y me Craig Sizery a living, breathing
                               m , Princlpa , surety and owner.             .
               --..                                                                            Wi ut Prejudice
                                                                                             By:     g l z                           .



                                                                                               Craig S zer, œ ner/princim l
                                                                   void where prohibited by 1aw                                               .


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Case 1:16-cr-20715-MGC Document 859 Entered on FLSD Docket 05/01/2018 Page 9 of 11


                                                                ORDER
      Negotiate this discharge item through the back office for settlement
      via the pass through account at the treasury window under public
      policy for dlscharge of debts fn accordance HJR 192 June 5, 1933;
      73r
      accd Cong
         ount nr
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                  er: 0LS,e-,
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                                    n)d(,a11 associated poli-.
                                                            cies.Charge exempt
                                                         .


      This // dayof // il
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                                                                       ,2018A.n.

                                                        JURAT/ACKNOWLEDGEMENT
       State of Florida,
       county of b ckc.
                      kv                                 ,
       Subscribed and affirmed to before me this                               $ï dayof       ,.
                                                                                                   q
                                                                                                   ,   -)   ,
       2018 A.D.
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                                                             ) yotary Public

      My commission Expires: k
                             CCb: Ak JùD-Q
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   Case
U .S      1:16-cr-20715-MGC
     . DEPM    M NT OF     S Document 859 Entered on FLSD Docket 05/01/2018 Page 10 of 11
Floùda-soui em
99- 4+ st.,                                                ()%                                                                   U.S.DEP h                                           NT         JUSTICE
Suite300                                                            y                                                    M                          .#                     .       OF     'T     O TI E
Miami,/W
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        e e              olefheoffsetofany e gfede. payments;(2)determinethatthedebtispmst-dueandlegallyenforceableaher
    p ov1 m th                 btorat e st6 da ' hichto*presentevidencetothecontar*y:
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                                                                                      and(3)makereasonable'effortsto collectthedebt.
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